

Matter of Dolores Taveras De C. v Adalberto DeJesus C. (2021 NY Slip Op 05287)





Matter of Dolores Taveras De C. v Adalberto DeJesus C.


2021 NY Slip Op 05287


Decided on October 05, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 05, 2021

Before: Webber, J.P., Singh, Scarpulla, Mendez, Rodriguez, JJ. 


Docket No. O-07185/19 Appeal No. 14292 Case No. 2020-03985 

[*1]In the Matter of Dolores Taveras De C., Petitioner-Respondent,
vAdalberto DeJesus C., Respondent-Appellant.


Larry S. Bachner, New York, for appellant.
Bruce A. Young, Brooklyn, for respondent.



Order, Family Court, New York County (Jacob K. Maeroff, Referee), entered on or about September 30, 2020, which, upon a fact-finding determination that respondent husband committed the family offense of menacing in the second degree, granted a three-month order of protection in favor of petitioner wife, unanimously affirmed, without costs.
A fair preponderance of the evidence supports the determination that respondent committed the family offense of menacing in the second degree during the June 7, 2019 incident. The hearing testimony showed that in the midst of an acrimonious and ongoing dispute over petitioner's alleged infidelity, respondent threatened her with a 13-inch long kitchen knife and threatened to kill her, thereby placing petitioner in reasonable fear of physical injury (see Family Ct Act § 832; Penal Law § 120.14[1]; Matter of Carmen L. v Rafael R., 163 AD3d 436, 437 [1st Dept 2018]; Matter of Irma A. v David A., 139 AD3d 454, 455 [1st Dept 2016]). Respondent's intent was readily inferable from his conduct and statements during the incident. (see Matter of Reiss v Reiss, 221 AD2d 280 [1st Dept 1995], lv denied 89 NY2d 801 [1996]).
Family Court's credibility determination is entitled to great deference and is supported by the record (see Matter of Erin C. v Walid M., 165 AD3d 547, 548 [1st Dept 2018]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 5, 2021








